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  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                 CASE NO. 07cr2016-IEG
 12                                          Plaintiff,
                 vs.                                             Order Denying Defendants’ Rule 29
 13                                                              Motions for Acquittal
       DOLORES LOVIN (5); MARY
 14    ARONSON (6); PHILIP JAMES BIDWELL
       (12); JEFFREY A. LIGHT (14); TRACY
 15    O’NEAL TYLER (15); PETER P.
       BRAGANSA (16),
 16
                                          Defendants.
 17
 18
             All defendants orally moved for acquittal pursuant to Fed. R. Crim. Proc. 29 at the close of
 19
      the government’s case-in-chief and again at the close of all evidence. The Court denied these
 20
      motions in substantial part.1 The defendants have now renewed their motions under Rule 29.2 The
 21
      government filed an opposition.
 22
             A hearing was held before Chief Judge Irma E. Gonzalez on October 15, 2009. Upon
 23
      review, for the reasons set forth herein, the Court again DENIES defendants’ motions.
 24
 25          1
               During the June 12, 2009 hearing, the Court granted defendants’ motion to dismiss certain
      of the substantive Food, Drug, and Cosmetics Act counts. In particular, the Court dismissed
 26   Counts 58, 60, 75, and 78-82 and 85. The Court denied the defendants’ motions to dismiss the
      remaining counts.
 27
             2
              All of the affiliate defendants filed Rule 29 motions and also joined in the motions filed by
 28   each of their co-defendants. Defendants Lovin and Aronson did not file new motions but orally
      moved to renew their earlier filed motions and to join in the affiliate defendants’ motions.

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  1                                             Legal Standard
  2          In reviewing a motion for judgment of acquittal under Rule 29, the Court must determine
  3   whether, “viewing the evidence in the light most favorable to the prosecution, any rational trier of
  4   fact could have found the essential elements of the crime beyond a reasonable doubt.” United
  5   States v. Gonzalez, 528 F.3d 1207, 1211 (9th Cir. 2008) (citing Jackson v. Virginia, 443 U.S. 307,
  6   319 (1979)).
  7                                                Discussion
  8   1.     Defendant s’ renewed argument that the prosecution in this case under the Controlled
             Substances Act violates due process
  9
             Defendants renew their argument that the charges against them under the Controlled
 10
      Substances Act (“CSA”) violate due process because the language of the Act and 21 C.F.R.
 11
      1306.04 was not sufficiently clear and precise to give them notice and fair warning that their
 12
      conduct was unlawful. The Court first addressed defendants’ argument in its September 29, 2008
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      order denying defendants’ motion to dismiss on due process grounds. The Court again addressed
 14
      defendants’ arguments during a January 30, 2009 motion hearing, after the passage of the Ryan
 15
      Haight Act in October of 2008, and again denied defendants’ motion. [Transcript of January 30,
 16
      2009 hearing, Doc. No. 482, pp. 66-71.]
 17
             Due process requires that a person be given fair notice as to what constitutes illegal
 18
      conduct so that he may conform his conduct to the requirements of the law. United States v.
 19
      Batchelder, 442 U.S. 114, 123 (1979). As set forth in the Court’s September 29, 2008 order, there
 20
      is an abundance of authority allowing the government to prosecute a non-practitioner under the
 21
      CSA, where there is evidence the defendant knew the underlying prescription was issued other
 22
      than for a legitimate medical purpose and other than in the ordinary course of professional
 23
      practice. In addition, “[t]hat Congress has considered clearer legislation ... does not mean that
 24
      existing laws do not apply ....” Quinones, 536 F. Supp. 2d at 273. As a general rule, “the view of
 25
      a later Congress cannot control the interpretation of an earlier enacted statute.” O’Gilvie v. United
 26
      States, 519 U.S. 79, 90 (1996).
 27
             The government proceeded to trial under the theory that the defendants knew the
 28
      prescriptions flowing through the Affpower network were written and filled outside the ordinary

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  1   course of professional practice and other than for a legitimate medical purpose. This is the legal
  2   standard which courts have routinely applied in cases involving both registrants and non-
  3   registrants. The Court again finds that the government’s prosecution of the defendants in this case
  4   does not offend due process, and DENIES defendants’ motion for acquittal on that ground.3
  5   2.     Jeffrey Light’s Motion for Acquittal
  6          Defendant Jeffrey Light argues the Court should grant his Rule 29 motion for acquittal on
  7   Counts 1, 3, 10, 13, 16, 25, 30, 31, 34, 39, 50, 51, 56 through 59, 67, 70, 73, and 80, because
  8   (a) there was insufficient evidence of Light’s association with Glass, and of his knowledge of
  9   Affpower and online pharmacies, to find the elements of conspiracy to distribute controlled
 10   substances beyond a reasonable doubt; (b) there was insufficient evidence that through his
 11   websites Light knowingly made false statements or knowingly joined a scheme or artifice to
 12   defraud, such that the government failed to demonstrate the elements of conspiracy to commit wire
 13   fraud beyond a reasonable doubt; and (c) there was insufficient evidence to prove beyond a
 14   reasonable doubt that Light knowingly conspired to distribute misbranded drugs.4
 15          a.      Sufficiency of the Evidence to Support Conspiracy to Distribute
 16          Defendant Light argues there was insufficient evidence for a rational juror to find beyond a
 17   reasonable doubt all the elements of the offense of conspiracy to distribute controlled substances
 18   as charged in Count 1 of the Superseding Indictment. In particular, defendant Light attacks the
 19   evidence demonstrating the elements of knowledge and intent.
 20          As the Court instructed the jury,
 21          In order for a Defendant to be found guilty of conspiracy to distribute and dispense
             controlled substances ... the government must prove each of the following beyond a
 22          reasonable doubt:
                     First ... there was an agreement between two or more persons to commit at
 23
 24          3
              To the extent defendants challenge the sufficiency of the evidence to demonstrate their
      knowledge that the prescriptions were being written and filled outside the ordinary course of
 25   professional practice or other than for a legitimate medical purpose, those arguments are addressed
      below.
 26
             4
              Defendant Light asks the Court to dismiss both the substantive and conspiracy counts set
 27   forth against him in the Superseding Indictment. The Court previously dismissed count 80, but
      denied Light’s motion to dismiss the remaining substantive counts during the June 12, 2009
 28   hearing on defendants’ Rule 29 motions. Light does not provide any new argument justifying
      dismissal of the remaining substantive counts.

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  1          least one crime as charged in count one of the superseding indictment; and
                     Second, the defendant became a member of the conspiracy knowing of at
  2          least one of its objects and intending to help accomplish it.
  3   [Jury Instruction No. 25; 9th Circuit Pattern Criminal Jury Instruction 8.16 (Conspiracy –
  4   Elements).] The Court further instructed the jury as follows:
  5                  The affiliate defendants contend that their actions were done with a good
             faith belief that the controlled substances were being distributed for a legitimate
  6          medical purpose and in the usual course of the professional practice of doctors.
  7                  The federal laws at issue in this case subject to criminal punishment only
             those persons who knowingly distribute controlled substances outside the usual
  8          course of professional practice and without a legitimate medical purpose or those
             persons who aid and abet the distribution of controlled substances knowing that
  9          they are being distributed outside a doctor's usual course of professional practice
             and without a legitimate medical purpose .
 10
                     In order to sustain its burden of proof on count 1, then, the government must
 11          prove beyond a reasonable doubt that an affiliate defendant conspired to distribute a
             controlled substance and did so other than in the good faith belief that the
 12          controlled substances were being distributed for a legitimate medical purpose and
             in the usual course of the professional practice of a doctor.
 13
      [Jury Instruction No. 31.]
 14
             Defendant Light argues the evidence at trial showed David Glass and others told the
 15
      affiliates, including himself, that the Affpower model was legal and did not violate the law. Light
 16
      argues there is no evidence he knew individuals associated with Affpower impersonated doctors,
 17
      that the doctors employed by Affpower were not reviewing questionnaires, or that the pharmacists
 18
      were violating state and federal regulations. Thus, Light argues the government failed to
 19
      demonstrate beyond a reasonable doubt that he both knew of Affpower’s unlawful purpose and
 20
      knowingly conspired to achieve that unlawful goal.
 21
             During the most recent hearing on these motions, Counsel for Light brought to the Court’s
 22
      attention the Tenth Circuit’s decision in United States v. Lovern, ___ F.3d ___, 2009 WL 2871538
 23
      (10th Cir. Sept. 9, 2009). Counsel argued the court’s decision in Lovern reinforces the affiliate
 24
      defendants’ contention there is insufficient evidence from which a rational juror could conclude
 25
      beyond a reasonable doubt that defendants knew the prescriptions were issued other than for a
 26
      legitimate medical purpose. In Lovern, the government charged a computer technician with
 27
      violating the CSA based upon his role in helping to fill internet prescriptions. The Court of
 28
      Appeals described the defendant, Mr. Barron, as a young man who completed only the 9th grade,

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  1   due in part to a learning disability, and who had no sort of medical education. Id. at *7. The
  2   evidence showed Barron performed only menial computer tasks. Baron logged into the internet
  3   pharmacy websites, accessed a page listing the available prescriptions, checked a box next those
  4   prescriptions the pharmacy would fill (as directed by the pharmacist who was sitting with him),
  5   and then printed labels for the chosen prescriptions. Id. at *8. The Court of Appeals found the
  6   evidence did not support the inference defendant knew the physicians who wrote the prescriptions
  7   he was printing relied exclusively on online questionnaires to issue the prescriptions, or that such a
  8   practice “exceeds the boundaries of legitimate practices and purposes in the medical profession.”
  9   Id. The court found the government’s generalized showing, that defendant knew “something was
 10   fishy,” was insufficient to sustain a conviction under the CSA. Instead, the court held the
 11   factfinder must also have been able to infer from the evidence presented at trial that the defendant
 12   knew the physicians “wrote prescriptions without first meeting their patients, and that this failure
 13   to do so was inconsistent with legitimate medical practices or purposes.” Id. at *9.
 14          Even applying the standard from Lovern to the evidence presented in this case, the Court
 15   finds defendants are not entitled to relief under Rule 29. The evidence at trial was sufficient to
 16   allow a rational juror to find beyond a reasonable doubt that Light and all of the other defendants
 17   knew the prescriptions flowing through Affpower were being issued and filled based exclusively
 18   upon an online questionnaire, and that such practice was outside the ordinary course of
 19   professional practice. Although Light argues he had no knowledge the doctors and pharmacists
 20   were acting outside the ordinary course of professional practice, he knew the DEA and FBI
 21   previously shut down and seized the assets of other internet pharmaceutical networks in which he
 22   participated. Furthermore, Light told David Glass during a couple conversations that Affpower
 23   escaped being shut down by distributing its business to smaller pharmacies to stay under law
 24   enforcement’s radar. Finally, the government presented evidence of the affiliates’ knowledge of
 25   the rate at which doctors were approving orders, and the jury could have concluded based upon
 26   this evidence that the affiliates knew the prescriptions were being issued other than for a legitimate
 27   medical purpose. Taken as a whole, the evidence was sufficient to allow a rational trier of fact to
 28   conclude beyond a reasonable doubt that Jeffrey Light knew of and intended to participate in the


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  1   conspiracy to distribute controlled substances. His motion for relief under Rule 29 as to Count 1 is
  2   DENIED.
  3            The evidence at trial regarding the remaining defendants similarly showed their knowledge
  4   that the prescriptions were being issued other than for a legitimate medical purpose and outside the
  5   ordinary course of professional practice. The Court previously denied all defendants’ motions as
  6   to Counts 1 - 29, and defendants have presented no argument as to why the Court should now
  7   grant relief. As such, all defendants’ motions for relief under Rule 29 as to Counts 1 - 29 are
  8   DENIED.
  9            b.     Sufficiency of the Evidence to Support Conspiracy to Commit Wire Fraud
 10            Defendant Light also argues there was insufficient evidence to allow a rational juror to find
 11   beyond a reasonable doubt that he conspired to commit wire fraud as alleged in Count 30 of the
 12   Superseding Indictment. As the Court instructed the jury, in order to find the defendants guilty of
 13   conspiracy to commit wire fraud, they had to find each of the following beyond a reasonable
 14   doubt:
 15                    First, the defendant participated in either a scheme or plan to defraud or a
               scheme or plan to obtain money or property by making false promises or
 16            statements, with all of you agreeing on at least one particular false promise or
               statement that was made;
 17                    Second, the defendant knew that the promises or statements were false;
                       Third, the promises or statements were material, that is, they would
 18            reasonably influence a person or were capable of influencing a person to part with
               money or property;
 19                    Fourth, the defendant acted with the intent to defraud; and
                       Fifth, interstate wire transmissions were used to carry out or attempt to carry
 20            out an essential part of the scheme.
                       ... The government need not prove that the scheme to defraud contemplated
 21            the use of the wires as an essential element, or that any particular defendant sent
               anything by wire, or that any particular defendant specifically knew of specific wire
 22            transmissions. It does not matter whether the material sent by wire was itself false
               or deceptive so long as the wire transmission was used as a part of the scheme. Nor
 23            does it matter whether the scheme or plan was successful, whether anyone was
               actually deceived by the misrepresentations, or whether any money or property was
 24            obtained.
 25   [Jury Instruction No. 35.] In his current motion, defendant Light disputes the sufficiency of the
 26   evidence demonstrating he knowingly made false statements on his websites or participated in a
 27   scheme or artifice to defraud.
 28            As the government points out in its opposition, however, defendant Light acknowledged on


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  1   cross-examination that he had full control of the content on his websites. Light occasionally
  2   changed or added language, but testified he had no personal knowledge regarding the accuracy of
  3   the representations he made on his sites. The evidence also showed many of the representations
  4   on Light’s websites were false. As the Court noted in denying defendants’ Rule 29 motion on the
  5   substantive wire fraud counts following the close of the government’s evidence, the law does not
  6   require any specific, affirmative misrepresentation be made. United States v. Woods, 335 F.3d
  7   993, 998 (9th Cir. 2003). In addition, it is enough that the government demonstrates reckless
  8   indifference to the truth of the representations. United States v. Sayakhom, 186 F.3d 928, 942 (9th
  9   Cir. 1999). Finally, the government is not required to show any actual customer was misled by the
 10   misrepresentations so long as the statements “had a natural tendency to influence, or were capable
 11   of influencing” a customer. United States v. LeVeque, 283 F.3d 1098, 1103-04 (9th Cir. 2002).
 12   Thus, the Court DENIES defendant Light’s motion for acquittal on the conspiracy to commit wire
 13   fraud count.
 14          The evidence regarding the remaining affiliate defendants’ control over their website
 15   content and the accuracy of the representations made on those websites was similar. Thus, the
 16   Court also denies all the affiliate defendants’ motions for relief under Rule 29 on the conspiracy to
 17   commit wire fraud count, Count 30 of the Superseding Indictment.
 18          c.      Sufficiency of the Evidence to Support Food, Drug, Cosmetic Act Charges
 19          Finally, defendant Light argues there was insufficient evidence to allow a rational juror to
 20   find beyond a reasonable doubt each of the elements required to convict him on both the
 21   substantive and conspiracy counts under the Food, Drug and Cosmetic Act (“FDCA”).
 22   Defendant's argument is not clear as to what element of the offense the government purportedly
 23   failed to prove. The Court instructed the jury, with regard to the affiliate defendants, that the
 24   government must prove the following beyond a reasonable doubt:
 25                  One, that a drug was dispensed;
                     Two, that the drug dispensed was a prescription drug;
 26                  Three, that the prescription drug was dispensed while the drug was held for
             sale, whether or not the first sale, after the drug had been shipped in interstate
 27          commerce;
                     Four, that the drug was not dispensed upon a written prescription of a
 28          practitioner licensed by law to administer such drug;
                     Five, that the defendant knew the medications would be dispensed without a

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  1          valid prescription;
                     Six, that the defendant acted with the intent to mislead or defraud the
  2          purchasers or government regulatory agencies; and
                     Seven, the government must prove beyond a reasonable doubt that the
  3          defendants did not act in good faith.
  4   [Instruction No. 47.] On the conspiracy charge, the Court further instructed the jury that
  5   “[c]onspiracy to commit ... dispensing of misbranded drugs with the intent to defraud or mislead,
  6   requires the same degree of necessary to commit the substantive offense itself.” [Jury Instruction
  7   No. 44.] As discussed above with regard to conspiracy to distribute controlled substances count,
  8   the government introduced sufficient evidence from which a rational juror could find beyond a
  9   reasonable doubt that the defendants knew or lacked good faith in believing the prescriptions were
 10   being issued and filled other than for a legitimate medical purpose. Thus, the Court DENIES
 11   defendants’ motion for relief under Rule 29 with regard to the substantive and conspiracy counts
 12   under the FDCA.5
 13   2.     Defendant Tracy Tyler's Motion
 14          Defendant Tyler moves for judgment of acquittal, arguing (a) there was insufficient
 15   evidence to hold him legally responsible for the actions of Jim Tyler, (b) there was insufficient
 16   evidence he knew or had any reasonable suspicion anyone was acting as a physician-imposter,
 17   (c) there was insufficient evidence any patient was misled regarding material misrepresentations
 18   on his website, (d) there was insufficient evidence the drugs shipped were as they purported to be,
 19   and (e) there was insufficient evidence that he knew the prescriptions were not issued for a
 20   legitimate medical purpose.6
 21          a.      Sufficiency of the Evidence to Hold Tyler Responsible for Father's Actions
 22          Defendant Tyler once again argues there was insufficient evidence to hold him legally
 23
 24          5
              Defendant Koch has raised a new issue with regard to the manner in which the Court
      defined “prescription” for purposes of the FDCA charges, which the Court will address below.
 25
             6
              Defendant Tyler also summarily renews his due process argument, but raises no
 26   arguments other than those addressed in the discussion above regarding Light's motion. Defendant
      Tyler also summarily renews his motion to dismiss the money laundering charge, based upon the
 27   Supreme Court's decision in United States v. Santos, 128 S. Ct. 2020 (2008), as well as his motions
      to dismiss due to outrageous government conduct [Doc. No. 412 and oral motions on unspecified
 28   dates]. The Court will not address these motions separately as defendant has offered no reasons
      why the Court should now grant those motions which it previously denied.

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  1   responsible for the actions of his father, Jim Tyler, and asks the Court to thus dismiss Counts 4, 21,
  2   26, 33, 48, 52, 60, and 61. In particular, at the hearing, Tyler argued the only evidence linking him
  3   to the transactions in his father’s name are his own statements, and that those statements alone are
  4   insufficient. Although the Court believes the evidence tying Tracy Tyler to transactions in his
  5   father’s name is weak, for the reasons explained below the Court believes a rational trier of fact,
  6   viewing the evidence in the light most favorable to the government, could find beyond a
  7   reasonable doubt each of the elements of the offense as to these specified counts.
  8          The Ninth Circuit has articulated a two part test which courts should apply to determine
  9   whether a confession has been sufficiently corroborated. United States v. Norris, 428 F.3d 907,
 10   914 (9th Cir. 2005).
 11          [F]irst, although the state need not introduce independent evidence of the corpus
             delicti in conformance with the traditional test [which requires independent
 12          evidence of every element of the crime], it must introduce sufficient evidence to
             establish that the criminal conduct at the core of the offense has occurred. Second,
 13          it must introduce independent evidence tending to establish the trustworthiness of
             the admissions, unless the confession is, by virtue of special circumstances,
 14          inherently reliable.
 15   Id. (quoting United States v. Lopez-Alvarez, 970 F.2d 583, 592 (9th Cir. 1992).
 16          In this case, the bulk of the evidence linking Tracy Tyler to transactions completed through
 17   websites in his father’s name consisted of Tracy Tyler’s own statements. This included Tracy
 18   Tyler’s statements to David Glass and his email regarding Life-Meds and OrderOnlinePharmacy
 19   being one entity. However, there was corroborating evidence, such as the fact Tracy Tyler had
 20   commissions from sales from his websites deposited into accounts held in his father’s name as
 21   well the email from Jim Tyler, instructing yet another online pharmacy network to make Tracy
 22   Tyler “the primary contact for your correspondence” and explaining that Tracy Tyler “is really the
 23   lead for our online selling efforts.” This independent evidence tends to corroborate Tracy Tyler’s
 24   statements to Glass and others, that he and is father were one and the same for purposes of their
 25   online pharmacy businesses. The evidence was sufficient to allow a rational juror to reject the
 26   innocent explanations to which defendant Tyler testified at the time of trial.
 27          For all of these reasons, the Court DENIES defendant Tyler’s request for relief under
 28   Rule 29 based upon insufficiency of the evidence to link him to transactions in his father's name.


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 1          b.      Sufficiency of the Evidence Regarding Knowledge of Physician Imposters
 2          Defendant Tyler argues Counts 11, 40, and 68 should be dismissed because there was no
 3   evidence from which the jury could conclude he knew Todd Wurtzel was posing as Dr.
 4   Zwitiashvili in approving orders. In addition, with regard to Count 43, defendant Tyler argues
 5   there was no evidence he knew anyone was using Dr. Concepcion’s authority in an improper
 6   manner.
 7          As noted by the government in its opposition, however, the government introduced
 8   evidence at trial indicating the affiliate defendants were aware of the abnormally high doctor
 9   approval rates because of the detailed commission reports available through the affiliate “backend”
10   system. In addition, there was evidence from which the jury could infer the defendants knew the
11   substances were distributed other than for a legitimate purpose, including the nature of the drugs
12   sold and the exorbitant prices charged. Thus, in evaluating defendants’ knowledge that the
13   prescriptions were issued outside the ordinary course of professional practice and other than for a
14   legitimate medical purpose, it made no difference whether Todd Wurtzel or a licensed physician
15   approved the orders. There was sufficient evidence from which a rational juror could find beyond
16   a reasonable doubt that defendants knew all the prescriptions at issue in the case, including the
17   prescriptions7 described in Counts 11, 40, 43, and 68, were issued other than for a legitimate
18   medical purpose and outside the ordinary course of professional practice.8 Defendant Tyler’s
19
20          7
               Defendant Tyler also summarily argues there was insufficient evidence from which a
     rational jury could find that the substances delivered in Counts 11, 40, 43, and 68 were what they
21   purported to be. Defendant Tyler argues the government was required to introduce evidence by an
     expert regarding the chemical composition of the substances delivered in order to prove they were,
22   in fact, the substances alleged in the Superseding Indictment. This case does not involve
     suspicious or unknown substances. The customers placed orders for specific prescription drugs,
23   and licensed U.S. pharmacists shipped the substances according to those orders. The jury could
     infer from the evidence presented at trial, including the customer order evidence, the Federal
24   Express delivery records, and the testimony of other customers who did receive the substances
     they ordered, that the substances ordered by customers who were not called as witnesses were
25   what they purported to be.
26          8
             The Court’s order declining dismissal on these counts is not inconsistent with its decision
     during trial to dismiss the FDCA counts involving Dr. Mariani and Dr. Gonzalez. Under the
27   FDCA, whether a prescription has been issued in the usual course of a professional practice for a
     legitimate medical purpose is to be determined, in part, by reference to the law of the state where
28   the physician is licensed to practice medicine. Because these physicians did not testify, and no
     other witness testified about the standard applicable in the states in which these physicians were

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 1   motion for relief as to Counts 11, 40, 43, and 68 is DENIED.
 2             c.     Sufficiency of the Evidence to Support Wire Fraud
 3             Defendant Tyler, like defendant Light, argues there was insufficient evidence that any
 4   customer found statements on his website to be misleading or relied upon those statements.         As
 5   the Court explained above on page 7, the government was not required to prove any particular
 6   customer relied upon the representations. Nonetheless, there was ample evidence showing
 7   statements on Tyler’s websites were false (i.e. Affpower was committed to “meeting and
 8   exceeding current regulations,” Affpower filled only prescriptions from “credentialed, certified
 9   physicians,” and that “thousands of psychiatrists and general practitioners throughout the US are
10   prescribing certain medications after only reviewing the patient's medical history, without a
11   physical exam”). The Court DENIES defendant Tyler’s motion for relief on the wire fraud
12   counts.
13   3.        Defendant Peter Bragansa's Motion
14             Defendant Bragansa moves for reconsideration of his previously-filed motion for acquittal,
15   filed on June 4, 2009 [Doc. No. 697]. The sole ground for acquittal asserted by Bragansa in the
16   prior motion was that the government failed to present evidence he knew or should have known
17   the substances were being dispensed other than for a legitimate medical purpose or not in the usual
18   course of professional practice. For the reasons explained above, with regard to Defendant Light’s
19   argument there was insufficient evidence of knowledge to support the conspiracy to distribute
20   count, the Court similarly DENIES defendant Bragansa’s motion for relief under Rule 29.
21   4.        Defendant Richard Koch's Motion
22             Defendant Koch moves for acquittal on the substantive and conspiracy misbranding counts
23   under the FDCA, arguing the Court incorrectly instructed the jury regarding the definition of
24   “prescription” under 21 U.S.C. § 353(b). Section 353(b) provides that “[a] drug intended for use
25   by man ... shall be dispensed only (i) upon a written prescription of a practitioner licensed by law
26   to administer such drug, ....” The Court instructed the jury that the term “prescription” was
27
28   licensed to practice, there was no evidence from which the jury could find all elements of the
     charge under the FDCA beyond a reasonable doubt.

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 1   defined as follows:
 2          [A] “prescription” means a written order, that is directions for the preparation and
            administration of a medicine, remedy, or drug for a real patient who needs it after
 3          an examination or consultation by a licensed practitioner who has a physician-
            patient relationship with the patient. To be valid under the Food, Drug, and
 4          Cosmetic Act, a prescription must be issued in the usual course of a professional
            practice for a legitimate medical purpose. Whether a prescription has been issued in
 5          the usual course of a professional practice for a legitimate medical purpose under
            the Food, Drug, and Cosmetic Act is determined in part by reference to the laws
 6          and regulations of the state in which the physician is licensed to practice medicine
            and issue prescriptions.
 7
     [Instruction No. 53.] Defendant Koch argues the Court, instead, should have used the definition of
 8
     “prescription” contained in 21 C.F.R. § 1300.01, which provides “[t]he term prescription means an
 9
     order for medication which is dispensed to or for an ultimate user but does not include an order
10
     which is dispensed for immediate administration to the ultimate user.” Defendant Koch points out
11
     there is a separate regulation, § 1300.02(b)(33), which defines the term “valid prescription.” Koch
12
     argues Congress clearly knew how to distinguish between a “prescription” and a “valid
13
     prescription,” and § 353(b) contains no requirement that there be a “valid prescription.” Thus,
14
     Koch argues the Court erred by instructing the jury that the FDCA requires prescriptions to be
15
     “valid.”
16
            In deciding to give the government’s proposed instruction, defining prescription as “a
17
     written order, that is directions for the preparation and administration of a medicine, remedy, or
18
     drug for a real patient who needs it after an examination or consultation by a licensed practitioner
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     who has a physician-patient relationship with the patient,” the Court relied upon the district court’s
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     reasoning in United States v. Nazir, 211 F. Supp. 2d 1372 (S.D. Fla. 2002). In Nazir, the court
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     evaluated the purpose of the FDCA, to protect consumers from dangerous products shipped in
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     interstate commerce, and discussed much of the existing case law interpreting § 353(b)(1). The
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     court in Nazir found the term “prescription” in § 353(b)(1) means “only a bona fide order” and
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     noted the prescription must be issued to a “real patient who actually needs it” and be the resul tof
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     “some sort of examination or consultation by a licensed doctor.” Id. at 1375. This is exactly the
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     definition the Court used to instruct the jury in the present case.
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            The Eleventh Circuit in United States v. Munoz, 430 F.3d 1357, 1366 (11th Circuit
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     2005)(the appeal by Nazir’s co-defendants) affirmed the district court’s decision in Nazir, again

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 1   finding that a “prescription” under § 353(b) must be valid. Furthermore, subsequent to the trial in
 2   this case, the Eighth Circuit also held that the term “prescription” in § 353(b) means more than
 3   simply writing on a piece of paper. United States v. Smith, 573 F.3d 639 (8th Cir. 2009). Instead,
 4   the court in Smith found the term “prescription” under the FDCA requires a valid prescription,
 5   meaning one issued for a legitimate medical purpose after consultation between the physician and
 6   patient. Id. at 652. Defendant Koch cites no authority supporting his argument that § 353(b)
 7   requires only that there exist a written prescription. The Court DENIES defendant Koch’s motion
 8   for relief.
 9                                               Conclusion
10           For the reasons set forth herein, the Court DENIES defendants’ motion for acquittal under
11   Fed. R. Crim. Proc. 29.
12           IT IS SO ORDERED.
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14   DATED: October 30, 2009
15
                                                    IRMA E. GONZALEZ, Chief Judge
16                                                  United States District Court
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